                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN


  In re:                                            §      Case No. 15-57711-MLO
                                                    §
  RANGASWAMI PRAKASH                                §
  SELMA PRAKASH                                     §
                                                    §
                      Debtor(s)                     §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Douglas S. Ellmann, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $1,029,018.84               Assets Exempt:      $290,978.17
(without deducting any secured claims)



Total Distributions to                                    Claims Discharged
Claimants:                        $242,353.30             Without Payment:    $427,284.72

Total Expenses of
Administration:                   $86,290.88


       3)      Total gross receipts of $341,862.34 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $13,218.16 (see Exhibit 2), yielded net receipts of $328,644.18
from the liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS           CLAIMS             CLAIMS              CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED               PAID
  Secured Claims
  (from Exhibit 3)                $916,621.14         $238,260.86       $238,260.86        $238,260.86
  Priority Claims:
      Chapter 7
      Admin. Fees and                     NA           $86,290.88        $86,290.88         $86,290.88
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                     NA                $0.00              $0.00              $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                     $1,839.57               $0.00              $0.00              $0.00
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                    $130,942.68         $322,777.49       $322,777.49          $4,092.44
  Exhibit 7)
           Total
     Disbursements               $1,049,403.39        $647,329.23       $647,329.23        $328,644.18

        4). This case was originally filed under chapter 7 on 12/04/2015. The case was pending
  for 38 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 02/08/2019                            By: /s/ Douglas S. Ellmann
                                                      /Do Trustee
                                                      ugl
                                                      as
                                                      S.
                                                      Ell
                                                      ma
  STATEMENT: This Uniform Form is associated with an open
                                                      nn bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                   EXHIBITS TO
                                                  FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                      UNIFORM                           AMOUNT
                                                                        TRAN. CODE                        RECEIVED
105 Avondale Ave. Jackson MI 49203-0000 Jackson Single-                   1110-000                         $10,041.32
family home Owner by deed
132 E. Addison St. Jackson MI 49203-0000 Jackson Single-                  1110-000                         $10,000.00
family home Owner by deed
3685 Kibby Jackson MI 49201-0000 Jackson Joint Owners by                  1110-000                        $259,000.00
Deed
Notes and Accounts Receivable - Unscheduled                               1221-000                           $285.12
Post petition limited partnership distribution                            1223-000                         $62,535.90
TOTAL GROSS RECEIPTS                                                                                      $341,862.34

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

               PAYEE                                  DESCRIPTION                      UNIFOR              AMOUNT
                                                                                          M                   PAID
                                                                                        TRAN.
                                                                                        CODE
PRAKASH, SELMA                           Exemptions                                    8100-002             $4,438.14
RANGASWAMI PRAKASH                       Exemptions                                    8100-002             $8,239.27
SELMA PRAKASH                            Exemptions                                    8100-002              $540.75
TOTAL FUNDS PAID TO                                                                                        $13,218.16
DEBTOR AND THIRD PARTIES


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM             CLAIMS              CLAIMS   CLAIMS                CLAIMS
NUMBER                              TRAN. CODE        SCHEDULED            ASSERTED ALLOWED                   PAID
              City of Jackson          4110-000              $188.14               $0.00          $0.00           $0.00
              Treasurer
              Fifth Third Bank         4110-000           $69,924.00               $0.00          $0.00           $0.00
              Fifth Third Bank         4110-000           $65,600.00               $0.00          $0.00           $0.00
              HSBC Mortgage            4110-000           $64,517.00               $0.00          $0.00           $0.00
              JP Morgan Chase          4110-000          $208,000.00               $0.00          $0.00           $0.00
              Payoff of First          4110-000                 $0.00       $238,260.86    $238,260.8     $238,260.86
              Mortgage Loan to                                                                      6
              Chase
              Santander                4110-000           $25,419.00               $0.00          $0.00           $0.00
              Consumer
              Seterus, Inc.            4110-000           $54,318.00               $0.00          $0.00           $0.00
              Seterus, Inc.            4110-000           $72,250.00               $0.00          $0.00           $0.00
              Seterus, Inc.            4110-000           $49,787.00               $0.00          $0.00           $0.00

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              Seterus, Inc.          4110-000          $67,308.00                $0.00        $0.00         $0.00
              Seterus, Inc.          4110-000          $61,310.00                $0.00        $0.00         $0.00
              Summit                 4110-000            $500.00                 $0.00        $0.00         $0.00
              Township
              Wells Fargo Bank       4110-000          $44,000.00                $0.00        $0.00         $0.00
              Wells Fargo Bank       4110-000          $37,500.00                $0.00        $0.00         $0.00
              Wells Fargo Bank       4110-000          $48,000.00                $0.00        $0.00         $0.00
              Wells Fargo Bank       4110-000          $48,000.00                $0.00        $0.00         $0.00
TOTAL SECURED CLAIMS                                  $916,621.14        $238,260.86     $238,260.8   $238,260.86
                                                                                                  6


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE               UNIFORM             CLAIMS            CLAIMS              CLAIMS             CLAIMS
                          TRAN. CODE        SCHEDULED          ASSERTED            ALLOWED                PAID
DOUGLAS S.                    2100-000                NA            $19,682.21      $19,682.21         $19,682.21
ELLMANN, Trustee
DOUGLAS S.                    2200-000                NA               $49.96             $49.96          $49.96
ELLMANN, Trustee
MRSC Insurance                2300-000                NA               $35.84             $35.84          $35.84
Partners, LLC
Insurance Support             2420-000                NA              $998.00            $998.00         $998.00
Center
Production Realty             2420-000                NA             $1,203.03       $1,203.03          $1,203.03
State Farm                    2420-000                NA               $30.69             $30.69          $30.69
State Farm                    2420-750                NA              $374.37            $374.37         $374.37
State Farm/ Insurance         2420-750                NA             $2,453.79       $2,453.79          $2,453.79
Support Center
State Farm/Insurance          2420-750                NA             $3,078.18       $3,078.18          $3,078.18
Support Center
City/County                   2500-000                NA               $11.00             $11.00          $11.00
tax/stamps to Jackson
County, MI Register
of Deeds
Courier Fee to                2500-000                NA               $15.00             $15.00          $15.00
MidState Title Agency
of Southern Michigan,
LLC
Owner's Title                 2500-000                NA             $1,295.10       $1,295.10          $1,295.10
Insurance to MidState
Title Agency of
Southern Michigan,
LLC
Real Estate                   2500-000                NA             $6,475.00       $6,475.00          $6,475.00
Commission- listing to
Production Realty
Real Estate                   2500-000                NA             $6,475.00       $6,475.00          $6,475.00
Commission- Selling
to Exit Realty 1st

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Record Bankruptcy            2500-000                NA        $30.00      $30.00         $30.00
Order to Jackson
County, MI Register
of Deeds
Record order                 2500-000                NA        $30.00      $30.00         $30.00
Approving Sale to
Jackson County, MI
Register of Deeds
Record Order to              2500-000                NA        $35.00      $35.00         $35.00
Jackson County, MI
Register of Deeds
Settlement or closing        2500-000                NA       $300.00     $300.00        $300.00
fee to MidState Title
Agency of Southern
Michigan, LLC
State tax/stamps to          2500-000                NA        $75.00      $75.00         $75.00
Jackson County, MI
Register of Deeds
State tax/stamps to          2500-000                NA      $1,942.50   $1,942.50     $1,942.50
State of Michigan
Title Insurance to           2500-000                NA       $594.50     $594.50        $594.50
MidState Title Agency
of Southern Michigan,
LLC
Transfer Tax to              2500-000                NA       $284.90     $284.90        $284.90
Jackson County, MI
Register of Deeds
Wire Fee to Mid State        2500-000                NA        $30.00      $30.00         $30.00
Title Agency of
Southern Michigan,
LLC
Wire Fee to MidState         2500-000                NA        $45.00      $45.00         $45.00
Title Agency of
Southern Michigan,
LLC
Bank of Texas                2600-000                NA      $1,217.84   $1,217.84     $1,217.84
Pinnacle Bank                2600-000                NA       $325.43     $325.43        $325.43
2013-2015 Delinquent         2820-000                NA      $4,946.79   $4,946.79     $4,946.79
Property Tax to
Jackson County, MI
Treasurer
2016 Property Taxes          2820-000                NA      $1,105.69   $1,105.69     $1,105.69
to Township of
Summit, MI Treasurer
City Property Taxes          2820-000                NA       $309.08     $309.08        $309.08
1/1/16 to 5/9/16
City Property Taxes          2820-000                NA       $129.40     $129.40        $129.40
1/1/2017 to 2/23/2017
City Property Taxes          2820-000                NA      $2,562.15   $2,562.15     $2,562.15
from 1/1/17 to 6/20/17
city/county tax/stamps       2820-000                NA        $11.00      $11.00         $11.00
to Jackson County, MI

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Register of Deeds
County Property              2820-000                NA            $42.79             $42.79           $42.79
Taxes 1/1/16 to 5/9/16
County property              2820-000                NA            $31.15             $31.15           $31.15
Taxes 1/1/2017 to
2/23/2017
County Property taxes        2820-000                NA           $562.99            $562.99          $562.99
from 1/1/2017 to
6/20/17
Delinquent Property          2820-000                NA       $2,363.45             $2,363.45        $2,363.45
Tax to Jackson
County, MI Treasurer
state tax/stamps to          2820-000                NA            $75.00             $75.00           $75.00
Jackson County, MI
Register of Deeds
Water and Sewer              2820-000                NA           $100.50            $100.50          $100.50
Usage to Township of
Summit, MI Treasurer
ELLMANN &                    3110-000                NA      $15,970.00         $15,970.00          $15,970.00
ELLMANN, P.C.,
Attorney for Trustee
ELLMANN &                    3120-000                NA           $268.55            $268.55          $268.55
ELLMANN, P.C.,
Attorney for Trustee
Kenneth Heverly              3310-000                NA       $5,725.00             $5,725.00        $5,725.00
CPA, PLLC,
Accountant for
Trustee
Commission to                3510-000                NA       $3,750.00             $3,750.00        $3,750.00
Production Realty,
Realtor for Trustee
Commission to                3510-000                NA       $1,250.00             $1,250.00        $1,250.00
Re/Max Mid
Michigan, Realtor for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                      NA      $86,290.88         $86,290.88          $86,290.88
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT            UNIFORM         CLAIMS           CLAIMS            CLAIMS        CLAIMS
NUMBER                             TRAN. CODE    SCHEDULED         ASSERTED          ALLOWED           PAID
              *State of             5800-000          $1,839.57             $0.00           $0.00        $0.00
              Michigan
TOTAL PRIORITY UNSECURED CLAIMS                       $1,839.57             $0.00           $0.00        $0.00


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS
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 CLAIM          CLAIMANT           UNIFORM        CLAIMS           CLAIMS        CLAIMS      CLAIMS
NUMBER                            TRAN. CODE   SCHEDULED         ASSERTED      ALLOWED         PAID
     1        CONSUMERS            7100-000              $0.00      $269.58       $269.58      $13.32
              ENERGY
              COMPANY
     2        Quantum3 Group       7100-000              $0.00      $743.11       $743.11      $36.70
              LLC as agent for
     3        Discover Bank        7100-000              $0.00    $12,320.71    $12,320.71    $608.42
     4        Discover Bank        7100-000              $0.00     $4,748.29     $4,748.29    $234.48
     5        Discover Bank        7100-000              $0.00     $8,927.90     $8,927.90    $440.88
     6        JW Healthcare        7100-000              $0.00      $189.90       $189.90       $9.38
              Solution, PLC
     7        University of        7100-000              $0.00      $558.33       $558.33      $27.57
              Michigan
     8        Fifth Third Bank     7100-000              $0.00    $11,068.62    $11,068.62    $546.59
     9        Fifth Third Bank     7100-000              $0.00     $9,347.28     $9,347.28    $461.59
     10       Fifth Third Bank     7100-000              $0.00    $10,080.72    $10,080.72    $497.81
     11       Capital One, N.A.    7100-000         $23,412.00    $23,822.12    $23,822.12   $1,176.39
     12       HURON                7100-000           $113.58       $113.58       $113.58       $5.61
              VALLEY
              AMBULANCE
              C/O MMCC
              xxx6830
     13       Capital One NA       7100-000           $657.00       $682.53       $682.53      $33.70
     14       Dyck-O'Neal, Inc.    7200-000              $0.00    $17,233.72    $17,233.72      $0.00
     15       Dyck-O'Neal, Inc.    7200-000              $0.00    $54,199.33    $54,199.33      $0.00
     16       Dyck-O'Neal, Inc.    7200-000              $0.00    $58,732.67    $58,732.67      $0.00
     17       Dyck-O'Neal, Inc.    7200-000              $0.00    $52,166.92    $52,166.92      $0.00
              as Servicer for
              FNMA
     18       Dyck-O'Neal, Inc.    7200-000              $0.00    $57,572.18    $57,572.18      $0.00
              as Servicer for
              FNMA
              *Consumers           7100-000          $2,413.47         $0.00         $0.00      $0.00
              Energy*
              *Discover            7100-000         $27,004.52         $0.00         $0.00      $0.00
              Allegiance Health    7100-000           $190.36          $0.00         $0.00      $0.00
              Barclay Bankcard     7100-000         $13,135.00         $0.00         $0.00      $0.00
              Center for Family    7100-000            $14.00          $0.00         $0.00      $0.00
              Health`
              CGM                  7100-000           $600.00          $0.00         $0.00      $0.00
              Comcast              7100-000           $400.00          $0.00         $0.00      $0.00
              Comenity             7100-000           $720.36          $0.00         $0.00      $0.00
              Complete             7100-000          $1,076.41         $0.00         $0.00      $0.00
              Payment
              Recovery
              Services, Inc.

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              Consumers            7100-000            $400.00          $0.00         $0.00      $0.00
              Energy
              Disney               7100-000           $8,450.13         $0.00         $0.00      $0.00
              Visa/Chase
              Fifith Third-        7100-000             $42.85          $0.00         $0.00      $0.00
              billing
              Fifth Third          7100-000          $30,984.00         $0.00         $0.00      $0.00
              Habu Inc             7100-000            $300.00          $0.00         $0.00      $0.00
              Healthcare           7100-000             $77.85          $0.00         $0.00      $0.00
              Solutions
              Hollywood            7100-000             $15.15          $0.00         $0.00      $0.00
              Video/West Bay
              Aquistions
              Independent ER       7100-000            $234.40          $0.00         $0.00      $0.00
              Physicians
              Jackson              7100-000             $42.54          $0.00         $0.00      $0.00
              Radiology
              Consultants
              Leoni Township       7100-000            $192.00          $0.00         $0.00      $0.00
              Marcoux Allen        7100-000           $1,500.00         $0.00         $0.00      $0.00
              Med Plus After       7100-000            $120.00          $0.00         $0.00      $0.00
              Hours
              Sears                7100-000           $5,000.00         $0.00         $0.00      $0.00
              Synchrony Bank/      7100-000          $11,456.81         $0.00         $0.00      $0.00
              JC Penney
              TLC Eye Care &       7100-000            $410.00          $0.00         $0.00      $0.00
              Laser Centers
              University of        7100-000             $79.00          $0.00         $0.00      $0.00
              Michigan Health
              System
              University of        7100-000            $479.33          $0.00         $0.00      $0.00
              Michigan Health
              Systems
              Vacation Villas at   7100-000            $836.70          $0.00         $0.00      $0.00
              Fantasy World
              Washtenaw            7100-000            $150.27          $0.00         $0.00      $0.00
              Urgent Care
              Yellow Pages         7100-000            $400.00          $0.00         $0.00      $0.00
              Zirmed               7100-000             $34.95          $0.00         $0.00      $0.00
TOTAL GENERAL UNSECURED CLAIMS                      $130,942.68   $322,777.49   $322,777.49   $4,092.44




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                                                                   FORM 1
                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                               Exhibit 8
                                                             ASSET CASES
Case No.:                    15-57711-MLO                                                Trustee Name:                             Douglas S. Ellmann
Case Name:                   PRAKASH, RANGASWAMI AND PRAKASH, SELMA                      Date Filed (f) or Converted (c):          12/04/2015 (f)
For the Period Ending:       2/8/2019                                                    §341(a) Meeting Date:                     01/13/2016
                                                                                         Claims Bar Date:                          08/11/2016

                         1                         2                    3                         4                         5                       6

                 Asset Description               Petition/      Estimated Net Value            Property               Sales/Funds            Asset Fully
                  (Scheduled and               Unscheduled     (Value Determined by            Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)            Value               Trustee,           OA =§ 554(a) abandon.           Estate             Gross Value of
                                                              Less Liens, Exemptions,                                                      Remaining Assets
                                                                 and Other Costs)

 Ref. #
1       118 Lakeside Jackson MI                  $80,000.00                      $0.00           OA                              $0.00                     FA
        49203-0000 Jackson
        Single-family home
2       803 21st Street Jackson MI               $80,000.00                      $0.00           OA                              $0.00                     FA
        49203-0000 Jackson
        Single-family home
3       1119 Cooper St Jackson MI                $82,000.00                      $0.00           OA                              $0.00                     FA
        49203-0000 Jackson
        Single-family home
4       234 Broad St. Jackson MI                 $25,000.00                      $0.00           OA                              $0.00                     FA
        49203-0000 Jackson
5       201 W. Palmer Ave Jackson MI             $71,000.00                      $0.00           OA                              $0.00                     FA
        49203-0000 Jackson
        Single-family home
6       205 N. Forbes St. Jackson MI             $67,000.00                      $0.00           OA                              $0.00                     FA
        49202-0000 Jackson
        Single-family home
7       203 Forest Ct Jackson MI                $113,000.00                      $0.00                                           $0.00                     FA
        49203-0000 Jackson
        Single-family home
8       1219 E. South St. Jackson MI             $90,500.00                      $0.00           OA                              $0.00                     FA
        49203-0000 Jackson
9       409 Hinckley Blvd Jackson MI             $95,000.00                      $0.00           OA                              $0.00                     FA
        49203-0000 Jackson
        Single-family home
10      3428 Sunnyheart Ave. Jackson             $80,000.00                      $0.00           OA                              $0.00                     FA
        MI 49202-0000 Jackson
        Single-family home
11      2513 E. Ganson St. Jackson MI            $50,000.00                      $0.00           OA                              $0.00                     FA
        49202-0000 Jackson
        Single-family home Future
        interest
12      132 E. Addison St. Jackson MI            $60,000.00                  $1,000.00                                      $10,000.00                     FA
        49203-0000 Jackson
        Single-family home Owner by
        deed
13      105 Avondale Ave. Jackson MI             $60,000.00                  $1,000.00                                      $10,041.32                     FA
        49203-0000 Jackson
        Single-family home Owner by
        deed
14      201 W. South St. Jackson MI              $75,000.00                      $0.00                                           $0.00                     FA
        49203-0000 Jackson
15      534 Quarry St. Jackson MI                $80,000.00                      $0.00           OA                              $0.00                     FA
        49201-0000 Jackson

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                                                                              FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                          Exhibit 8
                                                                ASSET CASES
Case No.:                     15-57711-MLO                                                             Trustee Name:                             Douglas S. Ellmann
Case Name:                    PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                   Date Filed (f) or Converted (c):          12/04/2015 (f)
For the Period Ending:        2/8/2019                                                                 §341(a) Meeting Date:                     01/13/2016
                                                                                                       Claims Bar Date:                          08/11/2016

                         1                                  2                      3                             4                        5                       6

                 Asset Description                      Petition/         Estimated Net Value               Property                Sales/Funds            Asset Fully
                  (Scheduled and                      Unscheduled        (Value Determined by               Abandoned              Received by the      Administered (FA) /
             Unscheduled (u) Property)                   Value                  Trustee,              OA =§ 554(a) abandon.            Estate             Gross Value of
                                                                        Less Liens, Exemptions,                                                          Remaining Assets
                                                                           and Other Costs)

16      3685 Kibby Jackson MI                           $290,000.00                      $1,000.00                                        $259,000.00                    FA
        49201-0000 Jackson Joint
        Owners by Deed
17      Make: Honda Model: Odyssey                       $24,000.00                          $0.00                                              $0.00                    FA
        Year: 2015
18      Household furnishings                             $1,700.00                          $0.00                                              $0.00                    FA
19      Video recorder, camcorder,                          $300.00                          $0.00                                              $0.00                    FA
        camera
20      Wardrobe                                            $200.00                          $0.00                                              $0.00                    FA
21      Jewelry                                           $4,500.00                          $0.00                                              $0.00                    FA
22      Checking (4) accounts @ Fifth                     $2,737.00                          $0.00                                              $0.00                    FA
        Third Bank
23      Checking & saving accounts                          $420.47                          $0.00                                              $0.00                    FA
        First Merit
24      Checking (2) accounts @                             $300.00                          $0.00                                              $0.00                    FA
        Michigan Community CU
25      Checking & saving accounts                        $1,025.00                          $0.00                                              $0.00                    FA
        Bank of America
26      Ameritrade                                          $645.70                          $0.00                                              $0.00                    FA
27      401k VOYA                                       $264,000.00                          $0.00                                              $0.00                    FA
28      401(k)                                            $1,700.00                          $0.00                                              $0.00                    FA
29      403(b)                                              $422.49                          $0.00                                              $0.00                    FA
30      403(b)                                            $6,879.00                          $0.00                                              $0.00                    FA
31      401(k)                                            $1,709.00                          $0.00                                              $0.00                    FA
32      IRA                                               $1,658.35                          $0.00                                              $0.00                    FA
33      Rental deposit Arun Syamala                       $3,300.00                          $0.00                                              $0.00                    FA
34      Term Life Insurance through                             $0.00                        $0.00                                              $0.00                    FA
        employer
35      Vacation Villa Fantasy World 2                          $0.00                        $0.00                                              $0.00                    FA
        Time Share Equity And
        Vacation Points of No Value,
36      Post petition limited                   (u)             $0.00                   $62,535.90                                         $62,535.90                    FA
        partnership distribution
37      Notes and Accounts Receivable           (u)             $0.00                      $285.12                                            $285.12                    FA
        - Unscheduled
38      Insurance Refund from State             (u)             $0.00                        $0.00                                              $0.00                    FA
        Farm


TOTALS (Excluding unknown value)                                                                                                             Gross Value of Remaining Assets
                                                      $1,713,997.01                    $65,821.02                                         $341,862.34                 $0.00




     Major Activities affecting case closing:
      10/01/2018     Once debtors cash their exemption checks this matter is ready for final report
      05/01/2018     Trustee hopes to close this matter in the next 90 days pending additional limited partnership distributions
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                                                                                                                                                     Page No:     3
                                                                              FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                          Exhibit 8
                                                                ASSET CASES
Case No.:                    15-57711-MLO                                                              Trustee Name:                             Douglas S. Ellmann
Case Name:                   PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                    Date Filed (f) or Converted (c):          12/04/2015 (f)
For the Period Ending:       2/8/2019                                                                  §341(a) Meeting Date:                     01/13/2016
                                                                                                       Claims Bar Date:                          08/11/2016

                         1                                  2                       3                              4                      5                       6

                 Asset Description                      Petition/         Estimated Net Value                Property               Sales/Funds            Asset Fully
                  (Scheduled and                      Unscheduled        (Value Determined by                Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)                   Value                  Trustee,               OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                        Less Liens, Exemptions,                                                          Remaining Assets
                                                                           and Other Costs)

     01/23/2018      Trustee is closing sale on main street property in Jackson.
     09/29/2017      Trustee continues to collect dwindling limited partnership distribution payments.
     04/11/2017      Trustee continues to collect dwindling limited partnership distribution payments.
     09/21/2016      The Trustee continues to collect post petition rents, and has listed the Avondale property.
     01/27/2016      Trustee is collecting post petition rents and will sell unencumbered property.


Initial Projected Date Of Final Report (TFR):            12/04/2018                                                      /s/ DOUGLAS S. ELLMANN
Current Projected Date Of Final Report (TFR):            12/04/2018                                                      DOUGLAS S. ELLMANN




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                                                                        FORM 2                                                                        Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-57711-MLO                                                                Trustee Name:                          Douglas S. Ellmann
Case Name:                         PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                     Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***1835                                                                  Checking Acct #:                       ******4153
Co-Debtor Taxpayer ID #:           **-***1836                                                                  Account Title:
For Period Beginning:              12/4/2015                                                                   Blanket bond (per case limit):         $2,000,000.00
For Period Ending:                 2/8/2019                                                                    Separate bond (if applicable):

       1                2                      3                                  4                                               5               6                    7

   Transaction       Check /             Paid to/                    Description of Transaction                Uniform          Deposit      Disbursement         Balance
      Date            Ref. #          Received From                                                           Tran Code           $               $


12/18/2015            (36)     RANGASWAMI                  rents                                              1223-000           $6,520.39                            $6,520.39
                               PRAKASH
12/31/2015                     Bank of Texas               Account Analysis Fee                               2600-000                            $10.00              $6,510.39
01/14/2016            (36)     Production Realty           rents                                              1223-000           $4,654.46                         $11,164.85
01/29/2016                     Bank of Texas               Account Analysis Fee                               2600-000                            $13.58           $11,151.27
02/10/2016            (36)     Production Realty           post petition rents                                1223-000           $6,250.42                         $17,401.69
02/29/2016                     Bank of Texas               Account Analysis Fee                               2600-000                            $21.33           $17,380.36
03/14/2016            (36)     Production Realty           rents                                              1223-000           $4,302.61                         $21,682.97
03/31/2016                     Bank of Texas               Account Analysis Fee                               2600-000                            $31.54           $21,651.43
04/29/2016                     Bank of Texas               Account Analysis Fee                               2600-000                            $33.71           $21,617.72
05/10/2016                     Midstate Title Co.          per c/o 4/22/16                                        *              $4,201.43                         $25,819.15
                      {12}                                                                   $10,000.00       1110-000                                             $25,819.15
                                                           City Property Taxes                    $(309.08)   2820-000                                             $25,819.15
                                                           1/1/16 to 5/9/16
                                                           County Property Taxes                   $(42.79)   2820-000                                             $25,819.15
                                                           1/1/16 to 5/9/16
                                                           Commission to Production          $(1,250.00)      3510-000                                             $25,819.15
                                                           Realty
                                                           Commission to Production          $(1,250.00)      3510-000                                             $25,819.15
                                                           Realty
                                                           Settlement or closing Fee              $(150.00)   2500-000                                             $25,819.15
                                                           to Midstate Title Agency
                                                           of Southern Michigan,
                                                           LLC
                                                           Title Insurance to                     $(297.25)   2500-000                                             $25,819.15
                                                           MidState Title Agency of
                                                           Southern Michigan, LLC
                                                           Wire Fee to Midstate Title              $(15.00)   2500-000                                             $25,819.15
                                                           Agency of Southern
                                                           Michigan, LLC
                                                           city/county tax/stamps to               $(11.00)   2820-000                                             $25,819.15
                                                           Jackson County, MI
                                                           Register of Deeds
                                                           state tax/stamps to                     $(75.00)   2820-000                                             $25,819.15
                                                           Jackson County, MI
                                                           Register of Deeds
                                                           Record Order to Jackson                 $(35.00)   2500-000                                             $25,819.15
                                                           County, MI Register of
                                                           Deeds
                                                           Delinquent Property Tax           $(2,363.45)      2820-000                                             $25,819.15
                                                           to Jackson County, MI
                                                           Treasurer
05/12/2016            (37)     State Farm                  receivable                                         1221-000             $169.28                         $25,988.43
05/23/2016           3001      State Farm/Insurance        Insurance Payment to State Farm                    2420-750                          $1,170.15          $24,818.28
                               Support Center

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                                                                                                SUBTOTALS
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                                                                        FORM 2                                                                Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-57711-MLO                                                         Trustee Name:                          Douglas S. Ellmann
Case Name:                        PRAKASH, RANGASWAMI AND PRAKASH, SELMA                              Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***1835                                                           Checking Acct #:                       ******4153
Co-Debtor Taxpayer ID #:          **-***1836                                                           Account Title:
For Period Beginning:             12/4/2015                                                            Blanket bond (per case limit):         $2,000,000.00
For Period Ending:                2/8/2019                                                             Separate bond (if applicable):

       1                2                      3                                   4                                      5               6                    7

   Transaction       Check /             Paid to/                    Description of Transaction        Uniform          Deposit      Disbursement         Balance
      Date            Ref. #          Received From                                                   Tran Code           $               $


05/31/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $39.94           $24,778.34
06/13/2016            (36)     Production Realty           distribution from limited partnership(s)   1223-000           $6,057.68                         $30,836.02
06/23/2016           3002      State Farm/Insurance        Insurance Payment to State Farm 1172       2420-750                          $1,367.65          $29,468.37
                               Support Center              0871 04
06/23/2016           3003      State Farm/Insurance        Insurance Payment to State Farm 1172       2420-750                           $540.38           $28,927.99
                               Support Center              0871 04
06/30/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $45.44           $28,882.55
07/11/2016            (36)     Production Realty           distribution from limited partnership(s)   1223-000           $1,582.14                         $30,464.69
07/14/2016            (37)     State Farm Mutual           insurance refund                           1221-000             $115.84                         $30,580.53
                               Automobile Insurance Co.
07/29/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $49.08           $30,531.45
08/11/2016            (36)     Production Realty           distribution from limited partnership(s)   1223-000           $6,669.76                         $37,201.21
08/12/2016           3004      State Farm/ Insurance       Insurance Payment to State Farm            2420-750                           $972.00           $36,229.21
                               Support Center
08/31/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $53.77           $36,175.44
09/13/2016            (36)     Production Realty           distribution from limited partnership(s)   1223-000           $2,697.77                         $38,873.21
09/30/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $58.57           $38,814.64
10/11/2016            (36)     Production Realty           rents                                      1223-000           $2,177.46                         $40,992.10
10/31/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $64.61           $40,927.49
11/14/2016            (36)     Prooduction Realty          distribution from limited partnership(s)   1223-000           $2,335.28                         $43,262.77
11/22/2016           3005      State Farm/ Insurance       Insurance Payment to State Farm 1172       2420-750                           $508.79           $42,753.98
                               Support Center              0871 04
11/30/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $65.50           $42,688.48
12/12/2016            (36)     Production Realty           distribution from limited partnership(s)   1223-000           $1,391.37                         $44,079.85
12/14/2016           3006      State Farm/ Insurance       Insurance Payment to State Farm 1172       2420-750                           $973.00           $43,106.85
                               Support Center              0871 04
12/14/2016           3007      MRSC Insurance Partners,    Bond Payment                               2300-000                            $21.70           $43,085.15
                               LLC
12/21/2016           3008      State Farm                  Insurance Payment to State Farm 1172       2420-750                           $836.00           $42,249.15
                                                           0871 04
                                                           105 Avondale, Jackson, MI.
12/30/2016                     Bank of Texas               Account Analysis Fee                       2600-000                            $69.91           $42,179.24
01/12/2017            (36)     Production Realty           post petition distribution                 1223-000           $1,017.75                         $43,196.99
01/31/2017                     Bank of Texas               Account Analysis Fee                       2600-000                            $69.37           $43,127.62
02/16/2017            (36)     Production Realty           post petition distribution                 1223-000           $1,711.67                         $44,839.29
                               Property Management




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                                                                                                  SUBTOTALS
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                                                                        FORM 2                                                                        Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-57711-MLO                                                                Trustee Name:                          Douglas S. Ellmann
Case Name:                         PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                     Bank Name:                              Bank of Texas
Primary Taxpayer ID #:             **-***1835                                                                  Checking Acct #:                       ******4153
Co-Debtor Taxpayer ID #:           **-***1836                                                                  Account Title:
For Period Beginning:              12/4/2015                                                                   Blanket bond (per case limit):         $2,000,000.00
For Period Ending:                 2/8/2019                                                                    Separate bond (if applicable):

       1                2                       3                                  4                                              5               6                    7

   Transaction       Check /             Paid to/                    Description of Transaction                Uniform          Deposit      Disbursement         Balance
      Date            Ref. #          Received From                                                           Tran Code           $               $


02/28/2017                     Midstate Title              per c/o 2/13/17                                        *                $619.54                         $45,458.83
                      {13}                                 Contract Sales Price of           $10,041.32       1110-000                                             $45,458.83
                                                           $10,000 plus Water/sewer
                                                           usage credit for 2/23 to
                                                           3/31/2017 of $41.32, for
                                                           total of $10,041.32
                                                           City Property Taxes                    $(129.40)   2820-000                                             $45,458.83
                                                           1/1/2017 to 2/23/2017
                                                           County property Taxes                   $(31.15)   2820-000                                             $45,458.83
                                                           1/1/2017 to 2/23/2017
                                                           Commission to Production          $(1,250.00)      3510-000                                             $45,458.83
                                                           Realty
                                                           Commission to Re/Max              $(1,250.00)      3510-000                                             $45,458.83
                                                           Mid Michigan
                                                           Settlement or closing fee to           $(150.00)   2500-000                                             $45,458.83
                                                           MidState Title Agency of
                                                           Southern Michigan, LLC
                                                           Title Insurance to                     $(297.25)   2500-000                                             $45,458.83
                                                           MidState Title Agency of
                                                           Southern Michigan, LLC
                                                           Courier Fee to MidState                 $(15.00)   2500-000                                             $45,458.83
                                                           Title Agency of Southern
                                                           Michigan, LLC
                                                           Wire Fee to MidState Title              $(30.00)   2500-000                                             $45,458.83
                                                           Agency of Southern
                                                           Michigan, LLC
                                                           City/County tax/stamps to               $(11.00)   2500-000                                             $45,458.83
                                                           Jackson County, MI
                                                           Register of Deeds
                                                           State tax/stamps to                     $(75.00)   2500-000                                             $45,458.83
                                                           Jackson County, MI
                                                           Register of Deeds
                                                           Record Bankruptcy Order                 $(30.00)   2500-000                                             $45,458.83
                                                           to Jackson County, MI
                                                           Register of Deeds
                                                           2013-2015 Delinquent              $(4,946.79)      2820-000                                             $45,458.83
                                                           Property Tax to Jackson
                                                           County, MI Treasurer
                                                           2016 Property Taxes to            $(1,105.69)      2820-000                                             $45,458.83
                                                           Township of Summit, MI
                                                           Treasurer
                                                           Water and Sewer Usage to               $(100.50)   2820-000                                             $45,458.83
                                                           Township of Summit, MI
                                                           Treasurer
02/28/2017                     Bank of Texas               Account Analysis Fee                               2600-000                            $63.76           $45,395.07
03/14/2017            (36)     Production Realty           post petition distribution                         1223-000             $636.02                         $46,031.09
03/31/2017                     Bank of Texas               Account Analysis Fee                               2600-000                            $73.78           $45,957.31

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                                                                        FORM 2                                                                          Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           15-57711-MLO                                                                 Trustee Name:                           Douglas S. Ellmann
Case Name:                         PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                      Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***1835                                                                   Checking Acct #:                        ******4153
Co-Debtor Taxpayer ID #:           **-***1836                                                                   Account Title:
For Period Beginning:              12/4/2015                                                                    Blanket bond (per case limit):          $2,000,000.00
For Period Ending:                 2/8/2019                                                                     Separate bond (if applicable):

       1                2                       3                                  4                                               5                6                    7

   Transaction       Check /             Paid to/                    Description of Transaction                 Uniform          Deposit      Disbursement          Balance
      Date            Ref. #          Received From                                                            Tran Code           $               $


04/11/2017            (36)     Production Realty           post petition distribution                          1223-000           $2,152.68                          $48,109.99
04/28/2017                     Bank of Texas               Account Analysis Fee                                2600-000                             $73.78           $48,036.21
05/10/2017            (36)     Production Realty           post petition distribution                          1223-000           $1,202.30                          $49,238.51
05/19/2017           3009      ELLMANN &                   c/o 5/19/17 Trustee attorney fees                   3110-000                          $12,085.00          $37,153.51
                               ELLMANN, P.C.
05/19/2017           3010      ELLMANN &                   c/o 5/19/17 Trustee attorney costs                  3120-000                            $268.55           $36,884.96
                               ELLMANN, P.C.
05/31/2017                     Bank of Texas               Account Analysis Fee                                2600-000                             $70.40           $36,814.56
06/09/2017           3011      Kenneth Heverly CPA,        Accountant for Trustee Fees p/c/o 6/8/17            3310-000                           $2,925.00          $33,889.56
                               PLLC
06/19/2017                     Midstate Title              per c/o 6/19/17                                         *              $1,081.50                          $34,971.06
                      {16}                                 Sale price of property              $259,000.00     1110-000                                              $34,971.06
                                                           $259,000.00
                                                           County Property taxes                   $(562.99)   2820-000                                              $34,971.06
                                                           from 1/1/2017 to 6/20/17
                                                           City Property Taxes from              $(2,562.15)   2820-000                                              $34,971.06
                                                           1/1/17 to 6/20/17
                                                           Owner's Title Insurance to            $(1,295.10)   2500-000                                              $34,971.06
                                                           MidState Title Agency of
                                                           Southern Michigan, LLC
                                                           Wire Fee to Mid State                    $(30.00)   2500-000                                              $34,971.06
                                                           Title Agency of Southern
                                                           Michigan, LLC
                                                           Real Estate Commission-               $(6,475.00)   2500-000                                              $34,971.06
                                                           listing to Production
                                                           Realty
                                                           Real Estate Commission-               $(6,475.00)   2500-000                                              $34,971.06
                                                           Selling to Exit Realty 1st
                                                           Payoff of First Mortgage            $(238,260.86)   4110-000                                              $34,971.06
                                                           Loan to Chase
                                                           State tax/stamps to State             $(1,942.50)   2500-000                                              $34,971.06
                                                           of Michigan
                                                           Transfer Tax to Jackson                 $(284.90)   2500-000                                              $34,971.06
                                                           County, MI Register of
                                                           Deeds
                                                           Record order Approving                   $(30.00)   2500-000                                              $34,971.06
                                                           Sale to Jackson County,
                                                           MI Register of Deeds
06/30/2017                     Bank of Texas               Account Analysis Fee                                2600-000                             $56.74           $34,914.32
07/05/2017           3012      Insurance Support Center    Jackson View Properties #1 LLC Policy               2420-000                            $998.00           $33,916.32
                                                           92-NU-4869-9
07/08/2017           3013      RANGASWAMI                  Debtor Exemptions from sale of 3685                 8100-002                            $540.75           $33,375.57
                               PRAKASH                     Kibby, Jackson MI
07/09/2017           3014      SELMA PRAKASH               Debtor Exemptions from sale of 3685                 8100-002                            $540.75           $32,834.82
                                                           Kibby, Jackson MI

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                                                                        FORM 2                                                                       Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-57711-MLO                                                               Trustee Name:                           Douglas S. Ellmann
Case Name:                        PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                     Bank Name:                              Bank of Texas
Primary Taxpayer ID #:            **-***1835                                                                 Checking Acct #:                        ******4153
Co-Debtor Taxpayer ID #:          **-***1836                                                                 Account Title:
For Period Beginning:             12/4/2015                                                                  Blanket bond (per case limit):          $2,000,000.00
For Period Ending:                2/8/2019                                                                   Separate bond (if applicable):

       1                2                      3                                  4                                              5               6                    7

   Transaction       Check /             Paid to/                     Description of Transaction             Uniform          Deposit       Disbursement         Balance
      Date            Ref. #          Received From                                                         Tran Code           $                $


07/17/2017            (36)     Production Realty          post petition distribution                        1223-000            $1,516.51                         $34,351.33
07/31/2017                     Bank of Texas              Account Analysis Fee                              2600-000                             $56.27           $34,295.06
08/11/2017            (36)     Production Realty          post petition distribution                        1223-000            $1,992.77                         $36,287.83
08/22/2017           3015      State Farm                 Policy Number 92-BY-K493-4                        2420-000                             $30.69           $36,257.14
08/31/2017                     Bank of Texas              Account Analysis Fee                              2600-000                             $59.15           $36,197.99
09/08/2017           3016      DOUGLAS S. ELLMANN         Partial Trustee Compensation p/c/o                2100-000                          $10,000.00          $26,197.99
                                                          9/8/17
09/10/2017            (36)     Production Realty          post petition distribution                        1223-000            $1,071.15                         $27,269.14
09/29/2017                     Bank of Texas              Account Analysis Fee                              2600-000                             $47.07           $27,222.07
10/13/2017            (36)     Production Realty          post petition distribution                        1223-000            $1,446.65                         $28,668.72
10/30/2017                     State Farm                 insurance refund                                  2420-750                           ($368.00)          $29,036.72
10/31/2017                     Bank of Texas              Account Analysis Fee                              2600-000                             $45.05           $28,991.67
11/13/2017            (36)     Production Realty          post petition distribution                        1223-000             $260.30                          $29,251.97
11/30/2017                     Bank of Texas              Account Analysis Fee                              2600-000                             $45.49           $29,206.48
12/06/2017                     Pinnacle Bank              Transfer Funds                                    9999-000                          $29,206.48                  $0.00

                                                                  TOTALS:                                                     $63,834.73      $63,834.73                  $0.00
                                                                      Less: Bank transfers/CDs                                     $0.00      $29,206.48
                                                                  Subtotal                                                    $63,834.73      $34,628.25
                                                                      Less: Payments to debtors                                    $0.00       $1,081.50
                                                                  Net                                                         $63,834.73      $33,546.75


  For the period of 12/4/2015 to 2/8/2019                                              For the entire history of the account between 12/18/2015 to 2/8/2019

  Total Compensable Receipts:                           $336,973.58                    Total Compensable Receipts:                               $336,973.58
  Total Non-Compensable Receipts:                             $0.00                    Total Non-Compensable Receipts:                                 $0.00
  Total Comp/Non Comp Receipts:                         $336,973.58                    Total Comp/Non Comp Receipts:                             $336,973.58
  Total Internal/Transfer Receipts:                           $0.00                    Total Internal/Transfer Receipts:                               $0.00


  Total Compensable Disbursements:                      $306,685.60                    Total Compensable Disbursements:                          $306,685.60
  Total Non-Compensable Disbursements:                    $1,081.50                    Total Non-Compensable Disbursements:                        $1,081.50
  Total Comp/Non Comp Disbursements:                    $307,767.10                    Total Comp/Non Comp Disbursements:                        $307,767.10
  Total Internal/Transfer Disbursements:                 $29,206.48                    Total Internal/Transfer Disbursements:                     $29,206.48




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                                                                        FORM 2                                                                  Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-57711-MLO                                                           Trustee Name:                          Douglas S. Ellmann
Case Name:                        PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:            **-***1835                                                             Checking Acct #:                       ******0013
Co-Debtor Taxpayer ID #:          **-***1836                                                             Account Title:                         DDA
For Period Beginning:             12/4/2015                                                              Blanket bond (per case limit):         $2,000,000.00
For Period Ending:                2/8/2019                                                               Separate bond (if applicable):

       1                2                      3                                  4                                         5               6                    7

   Transaction       Check /             Paid to/                    Description of Transaction          Uniform          Deposit      Disbursement         Balance
      Date            Ref. #          Received From                                                     Tran Code           $               $


12/06/2017                     Bank of Texas               Transfer Funds                               9999-000          $29,206.48                         $29,206.48
12/08/2017           5001      MRSC Insurance Partners,    Blanket Bond Premium for Period              2300-000                            $14.14           $29,192.34
                               LLC                         11/01/2017-11/01/2018- Percentage of
                                                           $164 (premium total) charged against ten
                                                           largest estates
12/11/2017            (36)     Production Realty           limited partnership distribution             1223-000             $798.09                         $29,990.43
01/05/2018                     State Farm                  insurance refund                             2420-750                            ($93.63)         $30,084.06
01/10/2018            (36)     Production Realty           limited partnership distribution             1223-000             $671.55                         $30,755.61
01/16/2018           5002      DOUGLAS S. ELLMANN          Partial Trustee Compensation p/c/o           2100-000                          $5,000.00          $25,755.61
                                                           9/8/17
01/18/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $32.79           $25,722.82
02/06/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $45.38           $25,677.44
02/13/2018            (36)     Production Realty           limited partnership distribution             1223-000             $572.40                         $26,249.84
03/05/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $37.90           $26,211.94
03/12/2018            (36)     Production Realty           limited partnership distribution             1223-000             $426.52                         $26,638.46
03/30/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $42.71           $26,595.75
04/12/2018            (36)     Production Realty           limited partnership distribution             1223-000             $323.84                         $26,919.59
04/26/2018           5003      Production Realty           Repairs                                      2420-000                          $1,145.00          $25,774.59
04/30/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $41.79           $25,732.80
05/14/2018            (36)     Production Realty           limited partnership distribution             1223-000             $667.76                         $26,400.56
05/31/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $42.16           $26,358.40
06/14/2018            (36)     Production Realty           limited partnership distribution             1223-000             $364.80                         $26,723.20
06/29/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $41.45           $26,681.75
07/11/2018            (36)     Production Reallty          limited partnership distribution             1223-000             $729.40                         $27,411.15
07/13/2018           5004      DOUGLAS S. ELLMANN          remainder of owed Trustee Compensation       2100-000                          $3,088.49          $24,322.66
                                                           p/c/o 9/8/17
07/31/2018                     Pinnacle Bank               Pinnacle Analysis                            2600-000                            $41.25           $24,281.41
08/13/2018            (36)     Production Realty           limited partnership distributions            1223-000             $334.40                         $24,615.81
09/21/2018           5005      Production Realty           MHSDA repair                                 2420-000                            $58.03           $24,557.78
09/21/2018           5006      PRAKASH, SELMA              per debtor's agreement as to offsets to 11   8100-002                          $4,438.14          $20,119.64
                                                           USC 522(d)(5) claimed c/o 9/17/18
09/21/2018           5007      RANGASWAMI                  per debtor's agreement as to offsets to 11   8100-002                          $7,698.52          $12,421.12
                               PRAKASH                     USC 522(d)(5) claimed; c/o 9/17/18
11/16/2018           5008      Douglas S. Ellmann          Trustee Compensation p/c/o 11/13/18          2100-000                          $1,593.72          $10,827.40
11/16/2018           5009      DOUGLAS S. ELLMANN          Trustee Expenses p/c/o 11/13/18              2200-000                            $49.96           $10,777.44
11/16/2018           5010      ELLMANN &                   Attorney for Trustee Fees p/c/o 11/13/18     3110-000                          $3,885.00             $6,892.44
                               ELLMANN, P.C.
11/16/2018           5011      Kenneth Heverly CPA,        Accountant for Trustee Fees p/c/o            3310-000                          $2,800.00             $4,092.44
                               PLLC                        11/13/18




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                                                                                                SUBTOTALS
                                                                                                                     Page$30,002.80
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                                                                     FORM 2                                                                 Exhibit 9
                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-57711-MLO                                                        Trustee Name:                         Douglas S. Ellmann
Case Name:                        PRAKASH, RANGASWAMI AND PRAKASH, SELMA                             Bank Name:                             Pinnacle Bank
Primary Taxpayer ID #:            **-***1835                                                          Checking Acct #:                      ******0013
Co-Debtor Taxpayer ID #:          **-***1836                                                          Account Title:                        DDA
For Period Beginning:             12/4/2015                                                           Blanket bond (per case limit):        $2,000,000.00
For Period Ending:                2/8/2019                                                            Separate bond (if applicable):

       1                2                    3                                 4                                         5              6                    7

   Transaction       Check /             Paid to/                 Description of Transaction          Uniform          Deposit     Disbursement         Balance
      Date            Ref. #          Received From                                                  Tran Code           $              $


11/16/2018           5012      CONSUMERS ENERGY          Final Distribution Amount Allowed:          7100-000                           $13.32              $4,079.12
                               COMPANY                   269.58; Claim #: 1; Amount Claimed:
                                                         269.58; Account Number: ; Amount
                                                         Allowed: 269.58; Dividend: 0.10; Notes: ;
                                                         Distribution D
11/16/2018           5013      Quantum3 Group LLC as     Final Distribution Amount Allowed:          7100-000                           $36.70              $4,042.42
                               agent for                 743.11; Claim #: 2; Amount Claimed:
                                                         743.11; Account Number: ; Amount
                                                         Allowed: 743.11; Dividend: 0.29; Notes:
                                                         (2-1) Money Loaned; Distribution D
11/16/2018           5014      Discover Bank             Final Distribution Amount Allowed:          7100-000                          $608.42              $3,434.00
                                                         12,320.71; Claim #: 3; Amount Claimed:
                                                         12,320.71; Account Number: ; Amount
                                                         Allowed: 12,320.71; Dividend: 4.89;
                                                         Notes: ; Distribution D
11/16/2018           5015      Discover Bank             Final Distribution Amount Allowed:          7100-000                          $234.48              $3,199.52
                                                         4,748.29; Claim #: 4; Amount Claimed:
                                                         4,748.29; Account Number: ; Amount
                                                         Allowed: 4,748.29; Dividend: 1.88;
                                                         Notes: ; Distribution D
11/16/2018           5016      Discover Bank             Final Distribution Amount Allowed:          7100-000                          $440.88              $2,758.64
                                                         8,927.90; Claim #: 5; Amount Claimed:
                                                         8,927.90; Account Number: ; Amount
                                                         Allowed: 8,927.90; Dividend: 3.54;
                                                         Notes: ; Distribution D
11/16/2018           5017      JW Healthcare Solution,   Final Distribution Amount Allowed:          7100-000                               $9.38           $2,749.26
                               PLC                       189.90; Claim #: 6; Amount Claimed:
                                                         189.90; Account Number: ; Amount
                                                         Allowed: 189.90; Dividend: 0.07; Notes: ;
                                                         Distribution D
11/16/2018           5018      University of Michigan    Final Distribution Amount Allowed:          7100-000                           $27.57              $2,721.69
                                                         558.33; Claim #: 7; Amount Claimed:
                                                         558.33; Account Number: ; Amount
                                                         Allowed: 558.33; Dividend: 0.22; Notes: ;
                                                         Distribution D
11/16/2018           5019      Fifth Third Bank          Final Distribution Amount Allowed:          7100-000                          $546.59              $2,175.10
                                                         11,068.62; Claim #: 8; Amount Claimed:
                                                         11,068.62; Account Number: ; Amount
                                                         Allowed: 11,068.62; Dividend: 4.40;
                                                         Notes: ; Distribution D
11/16/2018           5020      Fifth Third Bank          Final Distribution Amount Allowed:          7100-000                          $461.59              $1,713.51
                                                         9,347.28; Claim #: 9; Amount Claimed:
                                                         9,347.28; Account Number: ; Amount
                                                         Allowed: 9,347.28; Dividend: 3.71;
                                                         Notes: ; Distribution D


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                                                                        FORM 2                                                                      Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-57711-MLO                                                              Trustee Name:                           Douglas S. Ellmann
Case Name:                        PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                    Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:            **-***1835                                                                Checking Acct #:                        ******0013
Co-Debtor Taxpayer ID #:          **-***1836                                                                Account Title:                          DDA
For Period Beginning:             12/4/2015                                                                 Blanket bond (per case limit):          $2,000,000.00
For Period Ending:                2/8/2019                                                                  Separate bond (if applicable):

       1                2                      3                                  4                                            5                6                    7

   Transaction       Check /             Paid to/                     Description of Transaction            Uniform          Deposit      Disbursement           Balance
      Date            Ref. #          Received From                                                        Tran Code           $               $


11/16/2018           5021      Fifth Third Bank           Final Distribution Amount Allowed:               7100-000                            $497.81              $1,215.70
                                                          10,080.72; Claim #: 10; Amount Claimed:
                                                          10,080.72; Account Number: ; Amount
                                                          Allowed: 10,080.72; Dividend: 4.00;
                                                          Notes: ; Distribution D
11/16/2018           5022      Capital One, N.A.          Final Distribution Amount Allowed:               7100-000                           $1,176.39                  $39.31
                                                          23,822.12; Claim #: 11; Amount Claimed:
                                                          23,822.12; Account Number: ; Amount
                                                          Allowed: 23,822.12; Dividend: 9.47;
                                                          Notes: ; Distribution D
11/16/2018           5023      HURON VALLEY               Final Distribution Amount Allowed:               7100-000                                 $5.61                $33.70
                               AMBULANCE C/O              113.58; Claim #: 12; Amount Claimed:
                                                          113.58; Account Number: ; Amount
                                                          Allowed: 113.58; Dividend: 0.04; Notes: ;
                                                          Distribution D
11/16/2018           5024      Capital One NA             Final Distribution Amount Allowed:               7100-000                             $33.70                    $0.00
                                                          682.53; Claim #: 13; Amount Claimed:
                                                          682.53; Account Number: ; Amount
                                                          Allowed: 682.53; Dividend: 0.27; Notes: ;
                                                          Distribution D
11/18/2018                     Pinnacle Bank              Reversal of Bank Fee                             2600-000                            ($27.57)                  $27.57
11/28/2018                     Pinnacle Bank              Pinnacle Analysis                                2600-000                             $27.57                    $0.00

                                                                 TOTALS:                                                     $34,095.24      $34,095.24                   $0.00
                                                                     Less: Bank transfers/CDs                                $29,206.48           $0.00
                                                                 Subtotal                                                     $4,888.76      $34,095.24
                                                                     Less: Payments to debtors                                    $0.00      $12,136.66
                                                                 Net                                                          $4,888.76      $21,958.58


  For the period of 12/4/2015 to 2/8/2019                                             For the entire history of the account between 12/06/2017 to 2/8/2019

  Total Compensable Receipts:                             $4,888.76                   Total Compensable Receipts:                                    $4,888.76
  Total Non-Compensable Receipts:                             $0.00                   Total Non-Compensable Receipts:                                    $0.00
  Total Comp/Non Comp Receipts:                           $4,888.76                   Total Comp/Non Comp Receipts:                                  $4,888.76
  Total Internal/Transfer Receipts:                      $29,206.48                   Total Internal/Transfer Receipts:                             $29,206.48


  Total Compensable Disbursements:                       $21,958.58                   Total Compensable Disbursements:                              $21,958.58
  Total Non-Compensable Disbursements:                   $12,136.66                   Total Non-Compensable Disbursements:                          $12,136.66
  Total Comp/Non Comp Disbursements:                     $34,095.24                   Total Comp/Non Comp Disbursements:                            $34,095.24
  Total Internal/Transfer Disbursements:                      $0.00                   Total Internal/Transfer Disbursements:                             $0.00




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                                                                     FORM 2                                                                       Exhibit 9
                                               CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                        15-57711-MLO                                                             Trustee Name:                            Douglas S. Ellmann
Case Name:                      PRAKASH, RANGASWAMI AND PRAKASH, SELMA                                   Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:          **-***1835                                                               Checking Acct #:                         ******0013
Co-Debtor Taxpayer ID #:        **-***1836                                                               Account Title:                           DDA
For Period Beginning:           12/4/2015                                                                Blanket bond (per case limit):           $2,000,000.00
For Period Ending:              2/8/2019                                                                 Separate bond (if applicable):

      1                 2                  3                                   4                                            5                 6                    7

  Transaction        Check /            Paid to/                   Description of Transaction            Uniform          Deposit      Disbursement           Balance
     Date             Ref. #         Received From                                                      Tran Code           $               $




                                                                                                                                               NET             ACCOUNT
                                                                        TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE            BALANCES

                                                                                                                       $68,723.49         $68,723.49                   $0.00




 For the period of 12/4/2015 to 2/8/2019                                           For the entire history of the case between 12/04/2015 to 2/8/2019

 Total Compensable Receipts:                         $341,862.34                   Total Compensable Receipts:                                $341,862.34
 Total Non-Compensable Receipts:                           $0.00                   Total Non-Compensable Receipts:                                  $0.00
 Total Comp/Non Comp Receipts:                       $341,862.34                   Total Comp/Non Comp Receipts:                              $341,862.34
 Total Internal/Transfer Receipts:                    $29,206.48                   Total Internal/Transfer Receipts:                           $29,206.48


 Total Compensable Disbursements:                    $328,644.18                   Total Compensable Disbursements:                           $328,644.18
 Total Non-Compensable Disbursements:                 $13,218.16                   Total Non-Compensable Disbursements:                        $13,218.16
 Total Comp/Non Comp Disbursements:                  $341,862.34                   Total Comp/Non Comp Disbursements:                         $341,862.34
 Total Internal/Transfer Disbursements:               $29,206.48                   Total Internal/Transfer Disbursements:                      $29,206.48




                                                                                                    /s/ DOUGLAS S. ELLMANN
                                                                                                    DOUGLAS S. ELLMANN




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